Action begun July 3, 1941, by the First Wisconsin Trust Company as trustee for a declaratory judgment determining the effect of quitclaim deeds from Emma A. Taylor and Frances K. Buik, heirs of Ralph Chandler, to Alice Louise Chandler.  From a judgment in favor of Amelia Eldred MacLaren, executrix of the estate of said Alice Louise Chandler, Emma A. Taylor and Frances K. Buik appeal.
The will of Ralph Chandler was admitted to probate in 1904.  By this will he left his estate to his wife for life and if she should die without issue of his surviving, then at her death to his heirs according to the statutes.  In 1913, each appellant executed a quitclaim deed of the real estate devised by Ralph Chandler, to Alice Louise Chandler, testator's wife and *Page 128 
the life tenant.  These deeds were recorded in 1917.  In 1916, a judgment was entered in an action commenced by Alice Louise Chandler, as executrix of the estate of Ralph Chandler, in the circuit court for Milwaukee county for the construction of the last will and testament of Ralph Chandler, which held among other things that the vesting of the estate in remainder was postponed until the death of the widow and that the contingent remainder would go on her death to such persons as would then be the heirs and next of kin of Ralph Chandler under the statutes of descent and distribution.  Later in 1916, Alice Louise Chandler commenced proceedings in the county court for the sale of the real estate, stating in her petition that she had a life interest in the lands under the will of Ralph Chandler and also a future contingent interest in the remainder of said lands.  In 1917, the plaintiff below was appointed trustee in respect to the proceeds of the sale, to pay the income to Alice Louise Chandler for life and after her death distribute the corpus to such persons as would at that time be the heirs at law of said Ralph Chandler.  In 1918, the sales were made by a referee and confirmed by the court.  Since that time the plaintiff below has acted as trustee.  Alice Louise Chandler died on August 4, 1940, and her executrix now claims the corpus held by the plaintiff.  Appellants as heirs Ralph Chandler also claim the fund, alleging that the only purpose of the quitclaim deeds was to clear the title for the purchaser at the sale, and claiming further that the deeds did not pass any interest to Alice Louise Chandler.  The court below found in favor of the executrix of the estate of Alice Louise Chandler.
Appellants' chief claim is that the deeds in question were given to Alice Louise Chandler as executrix *Page 129 
to facilitate the transfer of a clear title to the lands on their sale, but the trial court did not take this view of the matter and the evidence supports the court's conclusion.  Appellants had a contingent remainder which they conveyed by quitclaim deed to the life tenant.  They are thus barred from any share in the land or the proceeds of the sale, now in the trust fund, unless for some reason the deeds were ineffective.
By sec. 230.35, Stats., "expectant estates are descendible, devisable and alienable in the same manner as estates in possession," and in the case of Meyer v. Reif, 217 Wis. 11,258 N.W. 391, it was held that this allowed the alienation of contingent remainders.  Appellants could convey their interests, and by the terms of the quitclaim deeds did relinquish all their "estate, right, title, interest and claim whatsoever" to the grantee, Alice Louise Chandler.  See Estate of North, ante, p. 72, 7 N.W.2d 705.  There is a further contention that the deeds were to Alice Louise Chandler in her capacity as executrix, but this cannot be supported.  Mrs. Chandler, the grantee, held her life estate and also under the deeds the contingent remainders of the appellants which by statute were alienable and so could be devised.  See Restatement, 2 Property, sec. 162, illus. 7.  The trust fund here is the equivalent of the land and is to pass to those entitled to the land.  Sec. 296.34, Stats.  No reason appearing for holding the deeds in question invalid, the judgment of the trial court decreeing that the executrix of the estate of Mrs. Chandler was entitled to the fund must be affirmed.
By the Court. — Judgment affirmed.
BARLOW, J., took no part. *Page 130 